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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    20-80015-Cr-Middlebrooks/Brannon
                         Case No. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                       18 U.S.C. § l 956(h)
                                       18 U.S.C. § 1956(a)(l)(B)(i)
                                       18 u.s.c. § 2

 UNITED STATES OF AMERICA,
                                                                                           TM
                         Plaintiff,
 vs.
                                                                                 Feb 10, 2020
 TEO ROSENGARTEN,
                                                                                             West Palm Beach
                         Defendant.
 ________________/
                                            INFORMATION

         The United States Attorney charges that:

                                             COUNT!
                              Conspiracy to Commit Money Laundering
                                        (18 U.S.C. §1956(h))

         From in or about February 2017,,through in or about March 2018, the exact dates being

 unknown to the Grand Jury, in Palm Beach County, in the Southern District
                                                                      ,    of Florida, and elsewhere,

 the defendant,

                                        TEO ROSENGARTEN,

 did willfully and knowingly combine, conspire, confederate, and agree with S.L. and with other

 persons known and unknown to the Grand Jury, to knowingly conduct financial transactions affecting

  interstate and foreign commerce, which transactions involved the proceeds of specified unlawful

 activity, knowing that the property involved in the financial transactions represented the proceeds of

  some form of unlawful activity, and knowing that the financial transactions were designed in whole

  and in part, to conceal and disguise the nature, location, source, ownership and control of the proceeds

  of specified unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(l)(B)(i).
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         It is further alleged that the specified unlawful activity is wire fraud, in violation of Title 18,

 United States Code, Section 1343.

         All in violation of Title 18, United States Code, Section 1956(h).

                                              COUNTS2-4
                                           Money Laundering
                                      (18 U.S.C. § 1956(a)(l)(B)(i))

         On or about the dates set forth below, in Palm Beach County, in the Southern District of

 Florida, and elsewhere, the defendant,

                                        TEO ROSENGARTEN,

 knowingly conducted and attempted to conduct, the following financial transactions affecting interstate

 and foreign commerce, which transactions involved the proceeds of specified unlawful activity,

 knowing that the property involved in the financial transactions represented the proceeds of some form

 of unlawful activity, and knowing that the financial transactions were designed, in whole and in part,

 to conceal and disguise the nature, the location, the source, the ownership, and the control of the

 proceeds of said specified unlawful activity:

   Count      Approximate Date                              Financial Transaction
                 of Deposit

     2           April 14,2017        A withdrawal from TEO ROSENGARTEN's Bank of America
                                      account of approximately $8,000

     3           April 18,2017        A withdrawal from TEO ROSENGARTEN's Bank of America
                                      account of approximately $6,600
     4           April 19,2017        A withdrawal from TEO ROSENGARTEN's Bank of America
                                      account of approximately $7,300



         It is further alleged that the specified unlawful activity is wire fraud, in violation of Title 18,

 United States Code, Section 1343.

         All in violation of Title 18, United States Code, Sections 1956(a)(l)(B)(i) and 2.

                                                     2
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                                       FORFEITURE ALLEGATIONS

         I.      The allegations contained in this Information are re-alleged and incorporated by

 reference as though fully set forth herein for alleging criminal forfeiture to the United States of

 America of certain propertY, in which the defendant, TEO ROSENGARTEN, has an interest.

         2.      Upon conviction of a violation of, or a conspiracy to violate, Title 18, United-States

 Code, Section 1956, as alleged in this Indictment, the defendant shall forfeit to the United States of

 America, pursuant to Title 18, United States Code, Section 982(a)(l), any property, real or personal,

 involved in such offense, and any property tr;ceable to such property.

         All pursuant to Title 18, United States Code, Section 982(a)(l), and the procedures outlined

 at Title 21, United States Code, Section 853, as made applicable by Title 18, United States Code,

 Section 982(b)(I).




 ~~cW                                                .   AURORAFAN
 UNITED STATES ATTORNEY                                  ASST. UNITED STATES ATTORNEY




                                                     3
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                                                  UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA                                      CASE NO . _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   v.
                                                               CERTIFICATE OF TRIAL ATTORNEY*
TEO ROSENGARTEN
                                                               Superseding Case Information:
                                   Defendant.

 Court Division: (Select One)                                  New defendant( s)          Yes       No
          Miami                 Key West                       Number of new defendants
          FTL         ,         WPB             F1P            Total number of counts

          1.        I have carefully considered the allegations of the indictment, the number of defendants, the number of
                    probable witnesses and the legal complexities of the Indictment/Information attached hereto.
          2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this
                    Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                    Act, Title 28 U.S.C. Section 3 I 61.
          3.        Interpreter:    (Yes or No)           No
                    List language and/or dialect
          4.        This case will take 0-5 days for the parties to try.
          5.        Please check appropriate category and type of offense listed below:

                    (Check only one)                                   (Check only one)


          I         0 to 5 days                       ✓                Petty
          II        6 to 10 days                                       Minor
          III       11 to 20 days                                      Misdem.
          IV        21 to 60 days                                      Felony             ✓

          V         61 days and over
          6.       Has this case previously been filed in this District Court?    (Yes or No) No
           If yes: Judge                                     Case No.
           (Attach copy of dispositive order)
                                                                        --------------
           Has a complaint been filed in this matter?         (Yes or No)      No
           If yes: Magistrate Case No.
           Related miscellaneous numbers:
           Defendant(s) in federal custody as of
           Defendant(s) in state custody as of
           Rule 20 from the District of
              Is this a potential death penalty case? (Yes or No)

              7.     Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                     prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No_  ✓_


              8.     Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                     prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes            No_   ✓_




                                                                               ~t
                                                                        Aurora Fagan
                                                                        ASSISTANT UNITED STATES ATTORNEY
                                                                        Florida Bar No./Court No. 188591
   *Penalty Sheet(s) attached                                                                                  REV 8/13/2018
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


                                       PENALTY SHEET

  Defendant's Name:        TEO ROSENGARTEN

  Case No: - - - - - - - - - -

  Count 1:

   Money Laundering Conspiracy

   Title 18, United States Code, Section 1956(h)

 * Max. Penalty: 20 Years' Imprisonment, 3 years' sup release, and fine of up to $500,000 or
 twice the value of the property involved in the transaction, whichever is greater


  Counts 2-4

   Money Laundering

   Title 18. United States Code. Section 1956(a)(l)(B)(i)

 *Max.Penalty: 20 Years' Imprisonment, 3 years' sup release, and a fine ofup to $500,000 or
 twice the value of the property involved in the transaction, whichever is greater




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
  special assessments, parole terms, or forfeitures that may be applicable.
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: _ _ _ _ _ _ _ _ __

                                         BOND RECOMMENDATION



DEFENDANT: TEO ROSENGARTEN

                 $100,000 Personal Surety Bond
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:




Last Known Address: _ _ _ _ _ _ _ _ _ __




What Facility:




Agent(s):               S/A Alex Gorostola
                        (FBI) (SECRET SERVICE)          (DEA)    (IRS) (ICE) (OTHER)
                        U.S. Treasury Department
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AO 455 (Rev. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                           for the
                                                Southern District of Florida

                  United States of America                   )
                                 V.                          )       Case No.
                                                             )
                   TEO ROSENGARTEN                           )
                             Defendant                       )

                                              WANER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisomnent for more than one
year. I was advised in open court ofmy rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:
                                                                                       Defendant 's signature




                                                                                 Signature ofdefendant's attorney



                                                                                Printed name of defendant's attorney




                                                                                         Judge's signature

                                                                           U.S. Magistrate Judge Bruce Reinhart
                                                                                  Judge's printed name and title
